                          4:18-cv-04124-SLD-JEH # 77 Page 1 of 1
                                                                                            E-FILED
              Case: 20-1606    Document: 1-3                    Tuesday,
                                                 Filed: 04/13/2020       14 April,
                                                                      Pages:   1 2020 08:06:14 AM
                                                                      Clerk, U.S. District Court, ILCD

     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
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                                         NOTICE OF DOCKETING - Short Form
 April 13, 2020


 To:         Shig Yasunaga
             Clerk of Court

 The below captioned appeal has been docketed in the United States Court of Appeals for the
 Seventh Circuit:

                    Appellate Case No: 20-1606

                    Caption:
                    CIARA VESEY,
                    Plaintiff - Appellant

                    v.

                    ENVOY AIR, INCORPORATED, doing business as AMERICAN
                    EAGLE AIRLINES, INC.,
                    Defendant - Appellee


                    District Court No: 4:18-cv-04124-SLD-JEH
                    Clerk/Agency Rep Shig Yasunaga
                    District Judge Sara Darrow

                    Date NOA filed in District Court: 04/10/2020


 If you have any questions regarding this appeal, please call this office.



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